Case 8:18-cv-00620-JVS-JDE Document 112-3 Filed 03/04/19 Page 1 of 4 Page ID
                                 #:5275




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                                                                             Ex. R
                                                                           Page 30
                      Case 8:18-cv-00620-JVS-JDE Document 112-3 Filed 03/04/19 Page 2 of 4 Page ID
                                                       #:5276




                                                                                                         Ex. R
                                                                                                       Page 31


HIGHLY CONFIDENTIAL                                                                                  GKOS00033909
                      Case 8:18-cv-00620-JVS-JDE Document 112-3 Filed 03/04/19 Page 3 of 4 Page ID
                                                       #:5277




                                                                                                           Ex. R
                                                                                                         Page 32

HIGHLY CONFIDENTIAL                                                                                  GKOS00033948
                      Case 8:18-cv-00620-JVS-JDE Document 112-3 Filed 03/04/19 Page 4 of 4 Page ID
                                                       #:5278




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                                                                                                           Page 33
HIGHLY CONFIDENTIAL                                                                                  GKOS00033949
